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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                               CASE NO. ____________________


 MARIE Y. RAVIX,

        Plaintiff,

 v.

 ADAMS & ASSOCIATES, INC.,
 a Foreign Profit Corporation; and
 ADAMS & ASSOCIATES OF NEVADA,
 INC.,

        Defendants.
                                                     /

                                    NOTICE OF REMOVAL

        Defendants, ADAMS AND ASSOCIATES, INC. and ADAMS AND ASSOCIATES OF

 NEVADA, INC. (collectively “Defendants”), by and through the undersigned counsel and

 pursuant to 28 U.S.C. §§ 1331, 1441 and 1446, hereby remove this action from the Circuit Court

 of the 11th Judicial Circuit in and for Miami-Dade County, Florida, where the action is now

 pending, to the United States District Court for the Southern District of Florida. The removal of

 this action is based upon the following:

        1.      On or about October 14, 2019, Plaintiff MARIE Y. RAVIX (“Plaintiff”) filed a

 complaint in the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County,

 Florida, entitled Marie Y. Ravix, Plaintiff, v. Adams and Associates, Inc., a Foreign Profit

 Corporation; and Adams and Associates of Nevada, Inc., Defendants, Case No. 2019-015110-

 CA-01 (hereinafter referred to as the “State Court Action”).
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          2.       Plaintiff’s Complaint1 contained the following nine causes of action: (1)

 discrimination in compensation in violation of the Equal Pay Act of 1963, 29 U.S.C. § 206, et

 seq. (“EPA”) (Count I); (2) national origin discrimination in violation of Title VII of the Civil

 Rights Act of 1964, 42 U.S.C. § 2000e, et seq. (“Title VII”) (Count II); (3) gender discrimination

 in violation of Title VII (Count III); (4) religious discrimination in violation of Title VII (Count

 IV); (5) retaliation in violation of Title VII (Count V); (6) national origin discrimination in

 violation of the Florida Civil Rights Act of 1992, Fla. Stat. § 760.10, et seq. (“FCRA”) (Count

 VI); (7) sex/gender discrimination in violation of the FCRA (Count VII); (8) religious

 discrimination in violation of the FCRA (Count VIII); and (9) retaliation in violation of the

 FCRA (Count IX).

          3.       This action is within the original federal question jurisdiction of the United States

 District Court pursuant to 28 U.S.C. §1331, because Plaintiff has asserted claims under both the

 EPA and Title VII. This Court has supplemental jurisdiction over Plaintiff’s FCRA claims

 pursuant to 28 U.S.C. §1367(a).

          4.       A copy of the Complaint and Summons in the State Court Action was served

 upon Defendants on November 11, 2019. This service constituted Defendants’ first legal notice

 of the State Court Action for purposes of removal. Thus, this Notice of Removal is timely filed

 pursuant to 28 U.S.C. § 1446(b), within thirty days (30) from the date on which Defendants

 received notice of the State Court Action.

          5.       For the reasons stated above, this action is removable to this Court pursuant to the

 provisions of 28 U.S.C. §§ 1331, 1441.




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  Plaintiff’s operative complaint in the State Court Action is entitled, “Amended Complaint.” Plaintiff filed an initial
 complaint on May 20, 2019, but that complaint was never properly served.



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        6.      The District and Division embracing the place where such action is pending is the

 United States District Court for the Southern District of Florida, Miami Division. See 28 U.S.C.

 § 1441(a); 28 U.S.C. § 89(c). The Southern District, Miami Division is the appropriate venue

 because Plaintiff alleges that the actions at issue took place in Miami-Dade County, Florida.

        7.      A true and correct copy of all process, pleadings, orders and other papers or

 exhibits of every kind currently on file in the State Court Action are attached hereto as

 Composite Exhibit “A,” as required by 28 U.S.C. § 1446(a).

        8.      Pursuant to 28 U.S.C. § 1446(d), Defendants have provided written Notice of the

 Removal to Plaintiff and have filed a copy of this Notice of Removal in the Circuit Court of the

 11th Judicial Circuit, in and for Miami-Dade County, Florida. A copy of Defendants’ Notice of

 Filing Notice of Removal is attached hereto as Exhibit “B.”


 Dated this 6th day of December, 2019

                                                        Respectfully submitted,

                                              By:       /s/ Sherril Colombo
                                                        Sherril M. Colombo, Esq.
                                                        Florida Bar No.: 948799
                                                        E-mail: scolombo@littler.com
                                                        Secondary: kljackson@littler.com
                                                        Stella S. Chu
                                                        Florida Bar No. 060519
                                                        E-mail: sschu@littler.com
                                                        LITTLER MENDELSON, P.C.
                                                        Wells Fargo Center
                                                        333 SE 2nd Avenue, Suite 2700
                                                        Miami, FL 33131
                                                        Telephone: (305) 400-7530
                                                        Facsimile: (305) 603-2552

                                                        COUNSEL FOR DEFENDANTS,
                                                        ADAMS AND ASSOCIATES, INC.
                                                        and ADAMS AND ASSOCIATES
                                                        OF NEVADA, INC.



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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 6th day of December 2019, a true and correct copy

 of the foregoing was electronically filed and served via transmission of Notice of Electronic

 Filing generated by CM/ECF on all counsel or parties of record on the Service List below, and

 also via any additional manner noted below.

                                                   /s/ Sherril M. Colombo
                                                   Sherril M. Colombo, Esq.




                                       SERVICE LIST

 Jason S. Remer
 Florida Bar No. 165580
 REMER & GEORGES-PIERRE, PLLC
 44 West Flagler Street
 Suite 2200
 Miami, Florida 33130
 Telephone: (305) 416-5000
 Facsimile: (305) 416-5005
 E-mail: jremer@rgpattorneys.com


 Counsel for Plaintiff



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